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                         EXHIBIT 7
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              4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

   6/*5&%45"5&4%*453*$5$0635'035)&
     4065)&3/%*453*$50'/&8:03,
   
   (07&3/.&/50'5)&6/*5&%$BTF/VNCFS
     45"5&47*3(*/*4-"/%4DW
   1MBJOUJGG +43
     W
   +1.03("/$)"4&#"/, /"
     %FGFOEBOU5IJSE1BSUZ
   1MBJOUJGG
     @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
   +1.03("/$)"4&#"/, /"
     5IJSE1BSUZ1MBJOUJGG 
   W
     +".&4&%8"3%45"-&:
   5IJSE1BSUZ%FGFOEBOU

     
   .": 
     )*()-:$0/'*%&/5*"-
   
   7JEFPUBQFEEFQPTJUJPOPG
   45&1)&/$65-&3 UBLFOQVSTVBOUUPOPUJDF
   XBTIFMEBUUIFMBXPGGJDFTPG#PJFT
   4DIJMMFS'MFYOFS--1 )VETPO:BSET
   /FX:PSL /FX:PSL DPNNFODJOHBU
   BN POUIFBCPWFEBUF CFGPSF
   "NBOEB%FF.BTMZOTLZ.JMMFS B$FSUJGJFE
   3FBMUJNF3FQPSUFSBOE/PUBSZ1VCMJDJO
   BOEGPSUIF4UBUFPG/FX:PSL
   
     (0-,08-*5*("5*0/4&37*$&4 */$
   QI]GBY
     EFQT!HPMLPXDPN




(PMLPX-JUJHBUJPO4FSWJDFT                                          1BHF
Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 3 of 31
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   JOWFTUJHBUJPOT
   "/P
   28IBUJTB8FMMTOPUJDF
   ""8FMMTOPUJDFJTBOPUJDF
   QSPWJEFECZUIFFOGPSDFNFOUTUBGGPGUIF
   4&$UPBQFSTPOPSFOUJUZ XIFOUIFTUBGG
   IBTESBXOBQSFMJNJOBSZDPODMVTJPOUIBU
   BOFOGPSDFNFOUBDUJPOJTXBSSBOUFE
   2"SFZPVGBNJMJBSXJUI5PXFST
   'JOBODJBM
   "5IFOBNFUIFOBNFTPVOET
   GBNJMJBS
   2%PFTUIFOBNF4UFWF
   )PGGFOCFSHTPVOEGBNJMJBS
   "*UEPFT
   2%PZPVSFDBMMUIBUCFGPSF
   #FSOJF.BEPGG 5PXFST'JOBODJBMXBT
   SFTQPOTJCMFGPSUIFMBSHFTU1PO[JTDIFNF
   JO64IJTUPSZ
   "*EPOhUSFDBMMUIBU
   2%PZPVSFDBMMBOZUIJOHBCPVU
   5PXFST'JOBODJBMBOE4UFWF)PGGFOCFSH
   CFJOHJOWPMWFEJOB1PO[JTDIFNF
   "*NFBO UIBUSJOHTBCFMM


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              4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

   #VU*UIJOLZPVhWFOPXFYIBVTUFENZ
   SFDPMMFDUJPOPGUIF5PXFST'JOBODJBM
   NBUUFS
   2*TUIFSFBTPOJUNJHIUSJOH
   BCFMMJTCFDBVTF5PXFST'JOBODJBMBOE
   4UFWF)PGGFOCFSHXFSFQSPTFDVUFECZUIF
   4&$
   .S&%&-."/0CKFDUJPOUP
   GPSN
   5)&8*5/&44*USJOHTB
   CFMMUIBUUIF4&$TVFE5PXFST
   'JOBODJBM"OE*DBOhUTBZ
   XIFUIFSJUBMTPTVFE
   .S)PGGFOCFSH*KVTUEPOhU
   SFNFNCFS
   #:.4-*6
   2"SFZPVBXBSFPGUIF
   7BOJUZ'BJSBSUJDMF 5IF5BMFOUFE
   .S&QTUFJO
   "*EPOhULOPX
   2%PZPVSFDBMMCFJOHTFOUB
   EPDVNFOUUIBUSFGFSFODFEUIBUBSUJDMF
   XIFOZPVXFSFHFOFSBMDPVOTFMBU
   +1.PSHBO


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              4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

   "*EPOhUIBWFBSFDPMMFDUJPO
   PGUIBU
   2"SFZPVBXBSFUIBUUIF
   BSUJDMFTUBUFTUIBU+FGGSFZ&QTUFJOXBT
   TBJEUPIBWFCFFOJOWPMWFEXJUI5PXFST
   'JOBODJBMBOE4UFWF)PGGFOCFSH
   .3("*-0CKFDUJPO
   5)&8*5/&44*EPOhUSFDBMM
   UIBU
   #:.4-*6
   28IFOZPVXFSFIFBEPG
   FOGPSDFNFOUBUUIF4&$ ZPVXFOUBGUFS
   +1.PSHBO DPSSFDU
   .3("*-0CKFDUJPO
   5)&8*5/&44*LOPXUIF4&$
   TVFE+1.PSHBOEVSJOHNZUFOVSFBU
   UIF4&$
   #:.4-*6
   2"OEXIBUEJEUIFZTVF
   +1.PSHBOGPS
   "*CFMJFWFJUXBTBNBUUFS
   SFMBUFEUPUSBOTBDUJPOTUIBUNBZIBWF
   DPODFSOFE&OSPO
   23JHIU+1.PSHBOXBTBMMFHFE


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              4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

   ":FT
   2"OE#FBS4UFBSOTIBEBMMCVU
   DPMMBQTFEJTUIBUZPVSSFDPMMFDUJPO
   "*UIJOLNZSFDPMMFDUJPO
   XPVMECF *UIJOL BCTFOUBOBDRVJTJUJPO
   UIFZNJHIUIBWFDPMMBQTFE
   2"OE8JMNFS)BMF UIFMBXGJSN
   SFQSFTFOUJOH+1.PSHBOIFSFJOUIJTDBTF
   XBTBMTPQBSUPGUIFMFHBMUFBNJOWPMWFE
   JOUIFBDRVJTJUJPOPG#FBS4UFBSOT
   DPSSFDU
   "*EPOhU*EPOhULOPX
   UIBU
   24PJUhTQPTTJCMF ZPVKVTU
   EPOhUSFDBMMPOFXBZPSUIFPUIFS
   "*KVTU*BDUVBMMZ
   SFNFNCFSPVSQSJODJQBMDPVOTFMCFJOH
   8BDIUFMM-JQUPO
   2%PZPVSFDBMMTFDVSJUJFT
   DPVOTFMCFJOH8JMNFS)BMF
   "*ODPOOFDUJPOXJUIUIF#FBS
   4UFBSOTBDRVJTJUJPO
   2:FT
   "*BDUVBMMZEPOhU


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              4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

   20LBZ"OEZPVXFSFBXBSF
   BOEJOWPMWFEJOEJTDVTTJPOTSFMBUFEUP
   +FGGSFZ&QTUFJOBOE+FGGSFZ&QTUFJOhT
   'JOBODJBM5SVTU$PSQPSBUJPO PS'5$hT
   MBXTVJUBHBJOTU#FBS4UFBSOT DPSSFDU
   "*XPVMEOhUIBWFLOPXO'5$PS
   UIBUEPFTOhUTPVOEGBNJMJBSUPNF#VU*
   SFNFNCFSIBWJOHTPNFJOWPMWFNFOUJO
   .S&QTUFJOhTDMBJNTBHBJOTU#FBS4UFBSOT
   UIBUXFJOIFSJUFEBTXFCFJOH
   +1.PSHBO JOIFSJUFEJODPOOFDUJPOXJUI
   UIF#FBS4UFBSOTUSBOTBDUJPO
   23JHIU"OETPXIFOZPV
   BDRVJSFE#FBS4UFBSOTJO XBTJUUIF
   DBTFUIBUZPVVOEFSTUPPE+FGGSFZ&QTUFJO
   IBEBMSFBEZTVFE#FBS4UFBSOTPSXBT
   BCPVUUPTVF#FBS4UFBSOT %PZPV
   SFDBMM
   "*EPOhUSFDBMMUIBU
   2"OEXIBUEJEZPVXIBUEP
   ZPVSFDBMM+FGGSFZ&QTUFJOXBTTVJOH#FBS
   4UFBSOTPWFS
   "*UIJOLJUXBTQSJODJQBMMZ
   BSPVOEUIFESPQJOTUPDLQSJDF UIBU#FBS


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              4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

   4UFBSOTIBEUSBEFEBTIJHIBT *EPOhU
   LOPXXIBU BOEVMUJNBUFMZXIFOXF
   BDRVJSFE#FBS4UFBSOTJUXBTBU ZPV
   LOPX BNVDIMPXFSQSJDFUIBOIFIBE
   BDRVJSFEUIFTUPDLGPS
   2%PZPVSFDBMMUIBUQBSUPG
   IJTMBXTVJUXBTSFMBUFEUPMPTTFTGPS
   JOWFTUNFOUTJOBTTFUCBDLFETFDVSJUJFT
   "*EPOhU*EPOhUSFNFNCFS
   UIBU*UhTFOUJSFMZQPTTJCMFUIBUIFXBT
   JOWFTUFEJOBIFEHFGVOE B#FBS
   4UFBSOTTQPOTPSFEIFEHFGVOEUIBUIBE
   JOWFTUFEJOBTTFUCBDLFETFDVSJUJFT *
   KVTUDBOhUSFNFNCFS
   2"OEZPVSFDBMMUIBUUIF
   TVDDFTTPGUIF#FBS4UFBSOTBDRVJTJUJPO
   XBTJNQPSUBOUUP+1.PSHBO
   "4VSF
   2"OEBTUIFUPQMBXZFS
   JOWPMWFEJOUIBUBDRVJTJUJPO XBTJU
   JNQPSUBOUUPZPV
   ":FT*NFBO XFBDRVJSFE
   #FBS4UFBSOTMBSHFMZCFDBVTFUIF
   HPWFSONFOUPGUIF6OJUFE4UBUFTXBOUFE


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              4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

   "5IBUhTDPSSFDU
   2%PZPVLOPXXIP5IPNBT4NJUI
   JT 5IPNBT+4NJUI JGUIBUIFMQT
   XPSLJOHXJUI"OOF7FSEPO QPTTJCMZ
   %PFTUIBUSJOHBCFMM
   "*XPVMEIBWFTBJEIFNBZ
   IBWFCFFOBMBXZFSBU+1.PSHBOJOUIF
   BTTFUNBOBHFNFOUBSFB CVU*DBOhU
   SFNFNCFS
   2*hNTPSSZ EJEZPVTBZB
   MBXZFS
   "*UIJOLTP*hNKVTUOPU
   TVSF
   2%PZPVSFDBMMJGZPVFWFS
   IBEDPOWFSTBUJPOTXJUI5IPNBT4NJUI
   SFMBUFEUP+FGGSFZ&QTUFJO
   "*EPOhUSFDBMM
   2%PZPVSFDBMMIBWJOH
   DPOWFSTBUJPOT JOUIFUJNFQFSJPE
   XJUI"OOF7FSEPOSFMBUFEUP+FGGSFZ
   &QTUFJO
   "*O *EPOhUSFDBMM
   UIBU
   28IPJT"MBO(SFFOCFSH


(PMLPX-JUJHBUJPO4FSWJDFT                                      1BHF
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               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    ")FXBTBGPSNFS#FBS4UFBSOT
    TFOJPSFYFDVUJWF"OEUIFOXIFOXF
    FGGFDUFEUIFUSBOTBDUJPOXJUI#FBS
    4UFBSOT IFDPOUJOVFEIJTBTTPDJBUJPO
    XJUIUIFDPNCJOFEGJSN JGZPVXJMM PO
    UIFCSPLFSTJEF
    24PIFXBTXJUI#FBS4UFBSOT
    BGUFSUIFBDRVJTJUJPODBNFPWFSUP
    +1.PSHBO DPSSFDU
    "$PSSFDU
    2%PZPVSFDBMMUIBU"MBO
    (SFFOCFSHXBTTQFDJGJDBMMZEJTDVTTFEJO
    +FGGSFZ&QTUFJOhTMBXTVJUBHBJOTU#FBS
    4UFBSOT
    "*EPOhULOPX
    2"MBO(SFFOCFSHXFOUCZUIF
    OBNF"DF DPSSFDU
    "$PSSFDU
    28FSFZPVGSJFOETXJUIIJN
    "/P
    28IPBU+1.PSHBO JGZPV
    LOPX XBT"MBO(SFFOCFSHDMPTFUP
    "0I *EPOhULOPX
    24PZPVEPOhULOPXJGIFXBT


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               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    GSJFOETXJUI.BSZ&SEPFT GPSFYBNQMF
    "*EPOhULOPXUIBU
    28BTIFGSJFOETXJUI+BNJF
    %JNPO
    "**EPOhULOPXUIBU
    28BTIFGSJFOETXJUI+FT
    4UBMFZ
    "/PUUIBU*LOPXPG
    
     8IFSFVQPO &YIJCJU
    $VUMFS +1.4%/:-*5
    &NBJM XBTNBSLFEGPS
    JEFOUJGJDBUJPO
    
    #:.4-*6
    2*hNIBOEJOHZPVXIBUIBT
    CFFONBSLFEBT&YIJCJU
    4PZPVhMMTFFUIFCPUUPN
    FNBJMJTGSPNTPNFCPEZOBNFE5PEE$PPL
    UP"MBO(SFFOCFSH
    %PZPVTFFUIBU
    ":FT
    2"OE5PEE$PPLJTJO
    +1.PSHBOhTTFDVSJUJFTMFHBMEFQBSUNFOU


(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 12 of 31
               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    %PZPVTFFUIBU
    ":FT
    2"OEIFXPVMEIBWFCFFO
    TPNFPOFXIPBMTPSFQPSUFEVQUPZPV
    DPSSFDU
    "*NFBO ZFT VMUJNBUFMZIF
    XPVMEIBWFSFQPSUFEIFJOEJSFDUMZ
    SFQPSUFEUPNF UIBUhTDPSSFDU
    2"MMSJHIU4PJOJO
    "VHVTUPGBUUIJTUJNF+FGGSFZ
    &QTUFJO *UIJOLXFDPOGJSNFE XBTTUJMM
    BDMJFOUBU+1.PSHBO DPSSFDU
    "$PSSFDU
    25PEEXSJUFT "MBO *hN
    GPMMPXJOHVQPOPVSDPOWFSTBUJPOBCPVU
    +FGGSFZ&QTUFJO"TNFOUJPOFE IFJT
    TVJOHVTPWFSJOWFTUNFOUTNBEFJOUIF
    #FBS4UFBSOT"#4BOEIJHIHSBEFGVOET
    %PZPVTFFUIBU
    "*EP
    2%PFTUIBUSFGSFTIZPVS
    SFDPMMFDUJPOUIBUUIFSFXBTBMBXTVJUCZ
    +FGGSFZ&QTUFJOBHBJOTU#FBS4UFBSOT
    ":FT


(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 13 of 31
               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    24PUIFO
    "8FMM *UIJOL*TQPLFUPP
    RVJDLMZ
    *EPOhULOPXXIFUIFSIF
    BDUVBMMZCSPVHIUBMBXTVJUPSIFIBEKVTU
    BTTFSUFEDMBJNT*KVTUEPOhULOPX*
    TFFUIBUUIJTTBZTIFJTTVJOHVT CVU*
    EPOhU*EPOhUSFDBMMBOBDUVBM
    MBXTVJU*UhTQPTTJCMF
    2"OEZPVEPOhUSFDBMMCFJOH
    JOWPMWFEJOEJTDVTTJPOT JO+VOFPG
    SFMBUFEUPQPUFOUJBMMJUJHBUJPOPS
    BOUJDJQBUFEMJUJHBUJPOPG+FGGSFZ&QTUFJO
    WFSTVT#FBS4UFBSOT
    .3("*-%JEZPVTBZ
    *hNTPSSZ
    5)&8*5/&44
    .4-*6+VOFPG
    5)&8*5/&44*DFSUBJOMZ
    SFDBMMEJTDVTTJPOTJOBCPVU
    #FBS4UFBSOThQPUFOUJBM
    MJBCJMJUJFT JODMVEJOHMBXTVJUTPS
    DMBJNTBHBJOTU#FBS4UFBSOT
    *EPOhUSFDBMMEJTDVTTJPOT


(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 14 of 31
               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    BCPVU+FGGSFZ&QTUFJOJOUIBU
    DPOUFYUJO
    #:.4-*6
    2*BTTVNFZPVIBWFOhU
    SFWJFXFEUIFQSJWMPHUIBU+1.PSHBO
    QSPWJEFEUPVTJOUIJTDBTF DPSSFDU
    "$PSSFDU
    2%PZPVSFDBMMTPNFCPEZCZ
    UIFOBNFPG%BWJE8FJOUSBVC
    ":FT
    2BUCFBSDPN
    ":FT
    2"OEEPZPVSFDBMMUIBUBT
    FBSMZBT+VOFUIPGIFXBT
    DPNNVOJDBUJOHXJUIZPVSFMBUFEUP
    SFOEFSJOHBOEEJTDVTTJOHMFHBMBEWJDFBT
    QSFQBSFECFDBVTFPGBOUJDJQBUFEPS
    DVSSFOUMJUJHBUJPOSFHBSEJOH&QTUFJOhT
    #FBS4UFBSOT
    "*EPOhU
    2#VUZPVIBWFOPSFBTPOUP
    EPVCUUIFBDDVSBDZUIBU%BWJE8FJOUSBVC
    BU#FBS4UFBSOTXBTFNBJMJOHXJUIZPV
    SFMBUFEUPQPTTJCMFMJUJHBUJPOCZ+FGGSFZ


(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 15 of 31
               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    &QTUFJOJO+VOFPG
    .3&%&-."/0CKFDUJPOUP
    GPSN
    #:.4-*6
    2$PVMEUIBUCFUSVF
    "5IBU.S8FJOUSBVCXBT
    DPNNVOJDBUJOHXJUINFBCPVUQPUFOUJBM
    MJUJHBUJPOCZ.S&QTUFJODPODFSOJOH#FBS
    4UFBSOTNBUUFST
    2$PSSFDU
    .3&%&-."/5IFRVFTUJPO
    JT DPVMEUIBUCFUSVF
    5)&8*5/&44:FT JUDPVME
    IBWFCFFOUSVFJUDPVMECF
    USVF
    #:.4-*6
    2"OEZPVSFDBMM+VOFPG
    JTUIFNPOUIBOEZFBSUIBU+FGGSFZ
    &QTUFJOQMFEHVJMUZBOECFDBNFB
    DPOWJDUFEGFMPO DPSSFDU
    "*LOPXUIBU ZFT
    2"OETPCSFXJOHBUUIFTBNF
    UJNFUIBUIFJTCFJOHLFQUPOBUUIFCBOL
    JTBMBXTVJUUIBUIFIBTBHBJOTU#FBS


(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 16 of 31
               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    4UFBSOT DPSSFDU
    .3("*-0CKFDUJPO
    5)&8*5/&44*G*
    VOEFSTUBOEZPVSRVFTUJPO BUUIF
    TBNFUJNFUIBUIFJTQPUFOUJBMMZ
    BTTFSUJOHDMBJNTBHBJOTU#FBS
    4UFBSOT IFJTBMTPQMFBEJOH
    HVJMUZUPUIFDSJNFTIFQMFE
    HVJMUZUP UIBUMJOFTVQ
    #:.4-*6
    23JHIU"OEJUBMTPMJOFTVQ
    UIBUJUhTUIFTBNFUJNFQFSJPEUIBUUIF
    DPNQBOZIBEBEFDJTJPOUPNBLFBCPVU
    XIFUIFSPSOPUUPSFUBJO+FGGSFZ&QTUFJO
    BTBDMJFOU BOEUIFZEJETP DPSSFDU
    "$PSSFDU
    24PJGZPVMPPLBUUIFUPQPG
    UIFFYIJCJU*KVTUTIBSFEXJUIZPV
    ":FT
    2ZPVhMMTFF%PNJOJRVF
    1SBOJUPFNBJMTZPVPOBOE
    TBZT "MBO(SFFOCFSHKVTUDBMMFEBOE
    XBOUTUPLOPXBOEUIFOUIFSFhTB
    SFEBDUJPOTFFEFUBJMTCFMPX


(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 17 of 31
               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    %PZPVTFFUIBU
    "*EP
    24P QSFTVNBCMZ "MBO
    (SFFOCFSHDBMMFESFMBUFEUPTPNFUIJOH
    BCPVU+FGGSFZ&QTUFJOBOEUIFMBXTVJUJT
    UIBUGBJS
    .3("*-0CKFDUJPO
    5)&8*5/&44*EPOhULOPX
    #:.4-*6
    28IPJT%PNJOJRVF1SBOJUP
    ".ZBTTJTUBOU*TIPVMETBZ
    TIFXBTNZBTTJTUBOU
    
     8IFSFVQPO &YIJCJU
    $VUMFS +1.4%/:-*5
    &NBJM XBTNBSLFEGPS
    JEFOUJGJDBUJPO
    
    #:.4-*6
    2*hNIBOEJOHZPVXIBUIBT
    CFFONBSLFEBT&YIJCJU
    :PVhMMTFFUIJTJTBOFNBJM
    GSPN+FGGSFZ&QTUFJO
    KFFWBDBUJPO!HNBJMDPN UP+FT4UBMFZPO


(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 18 of 31
               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    "VHVTUUI 
    %PZPVTFFUIBU
    "*EP
    2"OEUIJTTBZT 4UFWF$VUMFS
    TFOU"MBO(SFFOCFSHBOPUFUFMMJOHIJN
    ZPVBOE*TFUUMFE RVFTUJPONBSL
    RVFTUJPONBSL RVFTUJPONBSL*IBWFOhU
    TFFOBOZUIJOHTJODFPVSDPOWFSTBUJPO
    QFSJPE RVFTUJPONBSL RVFTUJPONBSL
    %PZPVTFFUIBU
    "*EP
    2%PZPVSFDBMMTFOEJOH"MBO
    (SFFOCFSHBOPUFPSBDPNNVOJDBUJPO
    BSPVOEUIJTUJNF
    "*EPOPU
    
     8IFSFVQPO &YIJCJU
    $VUMFS +1.4%/:-*5
    &NBJM XBTNBSLFEGPS
    JEFOUJGJDBUJPO
    
    #:.4-*6
    2*hNIBOEJOHZPVXIBUIBT
    CFFONBSLFEBT&YIJCJU


(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 19 of 31
               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    4PZPVhMMTFFGSPNUIFUPQ
    FNBJMUIJTJT BQQSPYJNBUFMZ BNPOUI
    MBUFSGSPNUIFMBTUFNBJMXFMPPLFEBU
    *UhTGSPN.FMJTTB(FUMFSUPZPV 4UFQIFO
    .$VUMFS 
    %PZPVTFFUIBU
    "*EP
    28IPJT.FMJTTB(FUMFS
    "*UIJOLTIFXBTBMJUJHBUPS
    CVU*hNOPUQPTJUJWF
    24PTIFXPSLFEGPS
    "4IFXBTTIFXBTJOUIF
    MFHBMEFQBSUNFOU*KVTUEPOhUSFDBMM
    XIJDIBSFB
    24PZPVhMMTFFUIFCPUUPN
    FNBJMJTGSPN+FGGSFZ&QTUFJOUP+FT
    4UBMFZ 1MFBTFGPSXBSEUP$VUMFS
    "*EP
    2%PZPVTFFUIBU
    ":FT
    2"OEUIFO+FT4UBMFZGPSXBSET
    ZPVTPNFUIJOH BOEJUhTSFEBDUFE
    QSJWJMFHFE
    %PZPVTFFUIBU


(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 20 of 31
               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    "*TFFUIBU
    2"OEZPVGPSXBSEJUUP
    .FMJTTB(FUMFS
    %PZPVTFFUIBU
    "*EP
    2"OEUIFOTIFXSJUFT
    TPNFUIJOHUPZPVUIBUXFDBOhUTFF
    CFDBVTFJUhTSFEBDUFE
    %PZPVTFFUIBU
    "*EP
    20LBZ4PEPZPVSFDBMMUIBU
    .FMJTTB(FUMFSXBTBMTPJOWPMWFEJO
    EJTDVTTJPOTSFMBUFEUPUIFMJUJHBUJPO
    UIBU+FGGSFZ&QTUFJOIBEBHBJOTU#FBS
    4UFBSOT
    "*EPOhUIBWFBOJOEFQFOEFOU
    SFDPMMFDUJPOPGUIBU4FFJOHUIJT
    EPDVNFOU UIBUJUhTFOUJSFMZQPTTJCMF
    UIBUTIFXPVMEIBWFCFFOJOWPMWFEJO
    MJUJHBUJPOBHBJOTUPSXJUI
    .S&QTUFJO
    
     8IFSFVQPO &YIJCJU
    $VUMFS


(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
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               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    +1.4%/:-*5 
    &NBJM XBTNBSLFEGPS
    JEFOUJGJDBUJPO
    
    #:.4-*6
    2*hNIBOEJOHZPVXIBUIBT
    CFFONBSLFEBT&YIJCJU
    :PVhMMSFDBMMJOUIFMBTU
    FYIJCJU  UIFCPUUPNFNBJMXBT
    +FGGSFZ&QTUFJO 4FQUFNCFSSE XJUIB
    QMFBTFGPSXBSEUP$VUMFSUP+FT4UBMFZ
    SJHIU
    "*EP
    20LBZ4POPXZPVDBOTFF
    UIBUUIJTFNBJM XIJDIDPOUBJOTUIBU
    TBNFCPUUPNFNBJM UIFOGPSXBSET
    TPNFUIJOHUP+FT4UBMFZ XIJDIIFUIFO
    GPSXBSETUPZPV  %,*
    ESBGU'5$TFUUMFNFOUBHSFFNFOU
    %PZPVTFFUIBU
    "*EP
    2"OEEPZPVSFDPHOJ[FUIF
    JOJUJBMT%,*
    "/P


(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 22 of 31
               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    2%PZPVSFDBMM%BSSFO,
    *OEZLFCFJOHUIFMBXZFSGPS+FGGSFZ
    &QTUFJO
    "*UIJOL*hWFTFFOEPDVNFOUT
    SFDFOUMZUIBUTVHHFTUFEUIBUUIBU
    .S*OEZLFXBTTPNFPOFXIPXBTBTTPDJBUFE
    XJUI.S&QTUFJO*EPOhU*EPOhU
    IBWFBOZLOPXMFEHFPGUIBU
    24P UIFO UIJTJGZPV
    UVSOUPUIFGJSTUQBHFPGUIFBUUBDINFOU
    ZPVhMMTFFUIFSFhTBESBGU 4FUUMFNFOU
    BHSFFNFOUBOESFMFBTF
    %PZPVTFFUIBU
    "*EP
    2"OEJUhTFOUFSFEJOUPCZBOE
    BNPOH+FGGSFZ&QTUFJO'JOBODJBM5SVTU
    $PNQBOZ
    %PZPVTFFUIBU
    "*EP
    2"OEPUIFSTBOEUIF#FBS
    4UFBSOTDPNQBOJFTBOETPNFPUIFST
    %PZPVTFFUIBU
    "*EP
    2%PFTUIJTSFGSFTIZPVS


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               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    SFDPMMFDUJPOJOBOZXBZBCPVUUIFMBXTVJU
    UIBU+FGGSFZ&QTUFJOIBECSPVHIUBHBJOTU
    #FBS4UFBSOT
    "*TUJMMEPOhULOPXJGUIFSF
    XBTBOBDUVBMMBXTVJU CVU*DBOSFBE
    *KVTUSFBEUIBUGJSTUQBSBHSBQI
    *EPOhULOPXXIFUIFSUIFSF
    XBT JOGBDU BMBXTVJUPSXIFUIFSUIFSF
    XFSFDMBJNT#VUZPVNBZOPUCFUIBU
    EJTUJODUJPONBZOPUCFJNQPSUBOUUPZPV
    JOZPVSRVFTUJPO*KVTUEPOhULOPX
    28FMM JUMPPLTMJLF *UIJOL
    POUIFOFYUQBHF JUhTSFGFSSJOHUPBO
    BSCJUSBUJPOQSPDFFEJOH.BZCF*hN
    DBMMJOHUIBUBMBXTVJU
    *TUIBUGBJS
    "*TFFUIBU"OE*XPVMEOhU
    IBWFLOPXOUIBUFJUIFS#VUPLBZ *TFF
    UIBU
    24PJGZPVUVSOUP1BHFPG
    UIJTEPDVNFOU UIFSFhTBO&YIJCJU"
    ":FT
    2"OEJUTBZT 1BSUZ BOEJU
    MJTUTUIFUISFFQBSUJFT


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               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    %PZPVTFFUIBU
    "*EP
    2"OEJUUBMLTBCPVUGVOE
    EBUF DPOUSJCVUJPO
    %PZPVTFFUIBU
    "*EP
    2"OEUIFDPOUSJCVUJPOUPUBMT
    GPSUIFUISFFQBSUJFT BQQSPYJNBUFMZ
    NJMMJPO
    %PZPVTFFUIBU
    .3&%&-."/0CKFDUJPOUP
    GPSN
    5)&8*5/&44*EP
    #:.4-*6
    2%PFTUIBUSFGSFTIZPVS
    SFDPMMFDUJPOJOBOZXBZUIBU+FGGSFZ
    &QTUFJOXBTTVJOH#FBS4UFBSOTPWFS
    MPTTFTUIBUXFSFBQQSPYJNBUFMZ
    NJMMJPO
    .3&%&-."/0CKFDUJPOUP
    GPSN
    5)&8*5/&44*EPOhUUIJOL
    UIBUhTXIBUJUTBZT
    #:.4-*6


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               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    28IBUEPFTJUTBZ
    "*XPVMEIBWFUPSFBEUIF
    XIPMFEPDVNFOU CVU*XPVMESFBE JG
    *hN*hNKVTUGPDVTJOHPO&YIJCJU"
    IBWJOHOPUSFBEUIFSFNBJOEFSPGUIF
    EPDVNFOU
    *UMPPLTMJLFUIBUhTUIF
    BNPVOUUIBUUIPTFQBSUJFTJOWFTUFE
    2*hNTPSSZ
    "#VU*hNOPUTVSF
    20LBZ"OEUIBUGBJS
    FOPVHI
    *UMPPLTMJLFUIBUhTUIF
    DPOUSJCVUJPOBNPVOUNBEFCZUIPTFQBSUJFT
    JOUIF#FBS4UFBSOTGVOETJTUIBUGBJS
    "5IBUhTXIBUJUUIBUhT
    XIBUJUMPPLTMJLF*EPOhULOPXJG
    UIBUhTXIBUJTNFBOU
    20LBZ
    "*GZPVXBOUNFUPTUVEZUIF
    EPDVNFOU *DBOTUVEZJU
    
     8IFSFVQPO &YIJCJU
    $VUMFS +1.4%/:-*5


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               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    UIFSF
    "0LBZ
    2.BZCFOPUDPJODJEFOUBMMZ
    5PEEDBMMFENFBCPVU&QTUFJOMBTUXFFL
    %PZPVTFFUIBU
    "*EP
    2"DF(SFFOCFSHXBOUTUPEP
    CVTJOFTTXJUIIJN
    %PZPVTFFUIBU
    "*EP
    2"OEBUUIJTUJNF "DF PS
    "MBO(SFFOCFSH XBTBMSFBEZBU+1.PSHBO
    DPSSFDU
    ":FT
    2"OEIFhTUIFQFSTPOXFXFSF
    UBMLJOHBCPVUXIPXBTGPSNFSMZXJUI#FBS
    4UFBSOT DPSSFDU
    "$PSSFDU
    2"OE*UIJOLZPVEJEOPU
    SFNFNCFSPSSFDBMM CVUIFXBTOBNFEJOB
    MBXTVJUUIBU+FGGSFZ&QTUFJOCSPVHIU
    BHBJOTU#FBS4UFBSOT
    %PZPVLOPXUIBU
    "5IBUUIBU.S(SFFOCFSH


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Case 1:22-cv-10904-JSR Document 187-7 Filed 06/15/23 Page 27 of 31
               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    XBTOBNFEJOBMBXTVJU
    2)FXBTUIFSFXFSF
    BMMFHBUJPOTSFMBUFEUP.S(SFFOCFSHJO
    UIFMBXTVJU
    "*EPOhUSFDBMMUIBU
    20LBZ"DF(SFFOCFSHXBOUT
    UPEPCVTJOFTTXJUIIJN*UPME5PEE
    BOEUIFOUIFSFhTBSFEBDUJPO
    %PZPVTFFUIBU
    "*EP
    24PNBZCF"DFJTQVTIJOHJU
    %PZPVTFFUIBU
    "*EP
    2%JEZPVLOPXBUUIJTUJNF
    JO UIBU"MBO"DF(SFFOCFSHXBOUFE
    UPEPCVTJOFTTXJUI+FGGSFZ&QTUFJO
    "8FMM *UIPVHIUZPVTIPXFE
    NFBOPUIFSFNBJMUIBUTVHHFTUFEUIBU*
    EPOhULOPX
    *EPOhUSFNFNCFSUIBU
    2:PVhSFUIJOLJOHBCPVU
    &YIJCJU
    ":FBI *TFFJUTBZT "MBO
    (SFFOCFSHKVTUDBMMFEBOEXBOUTUPLOPX


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               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    *EPOhULOPXXIBUJUJTUIBU
    IFXBOUFEUPLOPX CFDBVTFJUhTSFEBDUFE
    24P*hNBTLJOH BUUIF
    UJNF
    "*UNBZXFMMCFUIBU
    .S(SFFOCFSHXBTEPJOHCSPLFSBHF
    CVTJOFTTXJUI.S&QTUFJO*KVTUEPOhU
    SFNFNCFS
    24P.FMJTTB(FUMFSXSJUFT
    CBDLUP+BNFT$POESFO 0LBZ5IBU
    QSPWJEFTTPNFDPOUFYU NBZCF5IBOLT
    %PZPVTFFUIBU
    "*EP
    20LBZ+BNFT$POESFOUIFO
    GPSXBSETJUUP5PEE$PPL
    %PZPVTFFUIBU
    "*EP
    25PEE$PPLJTBOPUIFSMBXZFS
    SJHIU
    ":FT
    25PEE$PPLUIFOGPSXBSETJU
    UP+BNFT$POESFO .FMJTTB(FUMFS "OOF
    7FSEPO (SFH2VFOUBM
    %PZPVTFFUIBU


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               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    "*EP
    28IPJT(SFH2VFOUBM
    "*EPOhUSFNFNCFS*EPOhU
    UIJOLIFXBTBMBXZFS*UIJOLIFXBTB
    CVTJOFTTQFSTPO
    2"GUFSXFTQPLFUIJTJT
    5PEEXSJUJOHUP+BNFT$POESFO .FMJTTB
    (FUMFS "OOF7FSEPOBOE(SFH2VFOUBM
    "VHVTUUI 
    "GUFSXFTQPLF *SFBMJ[FE
    UIBUOPUPOMZJT&QTUFJOTVJOHVT CVU
    TJODFIFhTBDPOWJDUFEGFMPO UIF
    BQQSPWBMPG$VUMFSPS;VCSPXXPVMECF
    SFRVJSFECZUIFGJSNhTGFMPOQPMJDZ*U
    MPPLTMJLF"DFNBZIBWFSFBDIFEPVUUP
    $VUMFS
    %PZPVTFFUIBU
    "*EP
    2%PZPVSFDBMM.S(SFFOCFSH
    SFBDIJOHPVUUPZPVPOPSBCPVUUIJT
    UJNF
    "*NFBO *TFFUIJTXIFSF
    JTUIBUFNBJM
    *NFBO *TFFUIFUIJTJT


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               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    &YIJCJU NZBTTJTUBOUXSJUJOHUPNF
    UIBU.S(SFFOCFSHKVTUDBMMFEBOEXBOUT
    UPLOPXTPNFUIJOH BOEJUSFMBUFTUP
    +FGGSFZ&QTUFJO
    *EPOhU*EPOhUIBWFBO
    JOEFQFOEFOUSFDPMMFDUJPOPGUIJT*
    CFMJFWF*CFMJFWF.S(SFFOCFSHXBT
    TFSWJDJOHUIFUIF&QTUFJOBDDPVOU
    2"OE.FMJTTB(FUMFSXSJUFTUP
    5PEE$PPL +BNFT$POESFO "OOF7FSEPO
    (SFH2VFOUBM 8FBSFJODPOUBDUXJUI
    $VUMFSPOUIJT
    %PZPVTFFUIBU
    "*EP
    2"OEUIFO5PEE$PPLXSJUFT
    CBDLUP.FMJTTB(FUMFS "OOF7FSEPO (SFH
    2VFOUBM %JE"DFHPUPIJNGPSBO
    FYDFQUJPOUPUIFGFMPOQPMJDZ
    %PZPVTFFUIBU
    "*EP
    28IBUXBTBOFYDFQUJPOUPUIF
    GFMPOQPMJDZ
    .3&%&-."/0CKFDUJPOUP
    UIFGPSN


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               4UFQIFO$VUMFS)JHIMZ$POGJEFOUJBM

    SFRVJSFNFOUJOUIFQPMJDZUIBUXF
    SFWJFXFEFBSMJFSUPEBZUIBUTBZT
    UIBUJUNVTUHPUP+BNJF%JNPO
    TPNFIPX JGUIBUhTUIFQPMJDZUIBU
    XFhSFUBMLJOHBCPVU
    #:.4-*6
    2*hNBTLJOHJGZPVLOPX UIBU
    JG"MBO(SFFOCFSHDBNFUPZPVBOETBJE *
    XBOUUPEPCVTJOFTTXJUI+FGGSFZ&QTUFJO
    *XPVMEMJLFBOFYDFQUJPOUPUIFGFMPO
    QPMJDZ BOEZPVTBJEPLBZ XPVMEUIBU
    IBWFUPHPVQUP+BNJF%JNPOGPSGJOBM
    CMFTTJOH
    .3&%&-."/0CKFDUJPOUP
    GPSN
    5)&8*5/&44*EPOhU
    CFMJFWF.S(SFFOCFSHDBNFUPNF
    BOETBJEXFOFFE*OFFEBO
    FYDFQUJPOUPBGFMPOQPMJDZ
    4P*hNOPUTVSF*
    VOEFSTUBOE UIFO UIFIPXUP
    BOTXFSUIFRVFTUJPO
    #:.4-*6
    2.FMJTTB(FUMFS UIFQFSTPO


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